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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

 

ERIC ALI,
Plaintiff,
-against- 16-cv-01994 (ALC)

LAWRENCE K. MARKS, Chief of Public ORDER
Safety, New York State’s Office of Court
Administration, et al.,

Defendants.

 

 

ANDREW L. CARTER, JR., United States District Judge:

The Court hereby grants Plaintiff's motion to amend the Complaint a second time. ECF
No. 35. Plaintiff must file his Second Amended Complaint on or before March 24, 2017. Asa
result, Defendants’ motion to dismiss the First Amended Complaint is denied without prejudice
asmoot. ECF No. 32. If Defendants wish to renew their motion to dismiss as to the Second
Amended Complaint, they may do so without first requesting a pre-motion conference. The

Court sets the following briefing schedule:

 

Defendants’ Motion to Dismiss: April 14, 2017
Plaintiff's Opposition: May 5, 2017
Defendants’ Reply, if any: May 12, 2017
SO ORDERED. [Andre 7 (La
Dated: March 23, 2017 | 7
New York, New York ANDREW L. CARTER, JR.

United States District Judge

 
